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2                                UNITED STATES DISTRICT COURT
3                                       DISTRICT OF NEVADA
4                                                   ***
5       UNITED STATES OF AMERICA,                     Case No. 2:10-cr-578-APG-GWF
6                                      Plaintiff,     ORDER EXTENDING SELF-
                                                      SURRENDER DATE FOR LINDA
7                    v.                               LIVOLSI
8       LINDA LIVOLSI,
                                                      (Dkt. #213)
9                                  Defendant.
10

11
             Defendant Linda Livolsi has filed an emergency motion to extend her July 24, 2015
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       self-surrender date based upon upcoming medical appointments. (Dkt. #213.) It is unclear
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       why Ms. Livolsi scheduled these appointments after her self-surrender date, and why she
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       waited so long to notify her counsel of the need to file an emergency motion. The
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       Government has not yet had an opportunity to respond to the emergency motion.
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       Nevertheless, in order to allow Ms. Livolsi some time to address her medical issues, I will
17
       extend Ms. Livolsi's self-surrender date four weeks (until August 21, 2015). If Ms. Livolsi
18
       wants to extend the self-surrender date beyond August 21, she should file a new motion
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       at least 10 days before then, so the Government has time to respond.
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             IT IS HEREBY ORDERED that Linda Livolsi's emergency motion (Dkt. #213) is
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       GRANTED IN PART. Her self-surrender date is hereby extended to August 21, 2015.
22
             Dated: July 21, 2015.
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24                                                        ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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